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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                               CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                            Original Plan
                                                                  Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                        ■   Seventh                               Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Andres Diaz                                    JOINT DEBTOR: Ivette Del Sol                        CASE NO.: 15-12581-LMI
SS#: xxx-xx- 7955                                         SS#: xxx-xx-7798
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                            ■     Included              Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                  Included          ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                           ■     Included              Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $2,068.07            for months   1    to 42 ;

                   2.   $297.53              for months 43 to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                              NONE     PRO BONO
        Total Fees:            $11675.00            Total Paid:            $2325.00            Balance Due:           $9350.00
        Payable             $222.62          /month (Months 1     to 42 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3500 Attorneys Fees + $150 Cost + $2500 (MMM) + $2500 (MMM) +$500 (motion to value) +
        $500 (motion to value) + $500 (motion to value) + $500 (motion to modify) + $500 (motion to modify) + $525 (motion to modify
        5MP; charged outside plan) = 11,675
        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                 NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: Select Portfolio Servicing / The Bank of New York Mellon [Claim #6]
              Address: PO Box 65450                       Arrearage/ Payoff on Petition Date
                       Salt Lake City, UT 84165
                                                          MMM PPP Permanent Payment                   $1,383.09      /month (Months     1   to 42 )

         Last 4 Digits of
         Account No.:                 1002
        Other:
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                                                                   Debtor(s): Andres Diaz, Ivette Del Sol                 Case number: 15-12581-LMI

         ■   Real Property                                                   Check one below for Real Property:
                 ■ Principal    Residence                                     ■     Escrow is included in the regular payments
                       Other Real Property                                          The debtor(s) will pay     taxes       insurance directly
         Address of Collateral:
         1075 NW 127th Path, Miami FL 33182-1831

             Personal Property/Vehicle
         Description of Collateral:

         2. Creditor: Bayview Loan Servicing, LLC as servicing agent for THE BANK OF NEW YORK MELLON FKA THE
                      BANK OF NEW YORK, AS TRUSTEE (CWALT 2006-OA21) f/k/a Select Portfolio Servicing, Inc. [Claim#4]
              Address: 4425 Ponce De Leon              Arrearage/ Payoff on Petition Date
                       Blvd. 5th Floor
                                                       MMM TPP Temporary Payment                         $192.38       /month (Months   1   to 42 )
                       Coral Gables, Florida
                       33146
         Last 4 Digits of
         Account No.:                    9120
        Other:            f/k/a #4421

         ■   Real Property                                                   Check one below for Real Property:
                       Principal Residence                                          Escrow is included in the regular payments
                 ■ Other     Real Property                                          The debtor(s) will pay     taxes       insurance directly
         Address of Collateral:
         7481 NW 179 Street, Miami, FL 33015

             Personal Property/Vehicle
         Description of Collateral:

         3. Creditor: Tuscan Lake Villas Homeowners Association
              Address: 18400 NW 75 Place #114          Arrearage/ Payoff on Petition Date
                       Miami, FL 33015
                                                       Regular Payment (Maintain)                        $124.44       /month (Months   1   to 42 )

         Last 4 Digits of                              Regular Payment (Maintain)                        $128.00       /month (Months 43    to 60 )
         Account No.:                   NONE
        Other:

         ■   Real Property                                                   Check one below for Real Property:
                       Principal Residence                                          Escrow is included in the regular payments
                 ■ Other     Real Property                                          The debtor(s) will pay     taxes       insurance directly
         Address of Collateral:
         7481 NW 179 Street, Miami, FL 33015

             Personal Property/Vehicle
         Description of Collateral:
             B. VALUATION OF COLLATERAL:                    NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:            NONE
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                                                                           Debtor(s): Andres Diaz, Ivette Del Sol                 Case number: 15-12581-LMI

         1. Creditor: JPMorgan Chase Bank                     Value of Collateral:                 $175,000.00                      Payment
              Address: POB 659754                             Amount of Creditor's Lien:            $63,000.00    Total paid in plan:         $0.00
                       San Antonio, TX 78265

         Last 4 Digits of Account No.:             3432       Interest Rate:       0.00%                               $0.00     /month (Months       to      )


         Real Property                                        Check one below:
          ■   Principal Residence                                Escrow is included in the monthly
              Other Real Property                                mortgage payment listed in this section
                                                                 The debtor(s) will pay
         Address of Collateral:
         1075 NW 127 Path,                                                taxes              insurance directly
         Miami, FL 33182

         2. Creditor: JPMorgan Chase Bank,                    Value of Collateral:                 $175,000.00                      Payment
                      N.A. / c/o Five Lakes
                                                              Amount of Creditor's Lien:            $11,529.87    Total paid in plan:         $0.00
                      Agency, Inc. [Claim#2]
              Address: 201 N. Walnut Street
                       Wilmington, DE 19801                   Interest Rate:       0.00%                               $0.00     /month (Months       to      )

         Last 4 Digits of Account No.:             6292       Check one below:
                                                                 Escrow is included in the monthly
         Real Property
                                                                 mortgage payment listed in this section
              Principal Residence
                                                                 The debtor(s) will pay
          ■   Other Real Property
                                                                          taxes              insurance directly
         Address of Collateral:
         7481 NW 179 Street,
         Miami, FL 33015


         3. Creditor: Tuscan Lake Villas                      Value of Collateral:                 $175,000.00                      Payment
                      Homeowners Association
                                                              Amount of Creditor's Lien:            $19,652.93    Total paid in plan:         $0.00
              Address: 18400 NW 75 Place #114
                       Miami, FL 33015
                                                              Interest Rate:       0.00%                               $0.00     /month (Months       to      )
         Last 4 Digits of Account No.:             NONE
                                                              Check one below:
         Real Property
                                                                 Escrow is included in the monthly
              Principal Residence                                mortgage payment listed in this section
          ■   Other Real Property                                The debtor(s) will pay
         Address of Collateral:                                           taxes              insurance directly
         7481 NW 179 Street,
         Miami, FL 33015


                   2. VEHICLES(S):            ■    NONE
                   3. PERSONAL PROPERTY:                  ■   NONE
            C. LIEN AVOIDANCE                  ■   NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                           NONE
                       ■   The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                           request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
                           personam as to any codebtor(s) as to these creditors.
                           Other:

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                          Name of Creditor           Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                          Bayview Loan Servicing,    4421                         7481 NW 179 Street, Miami, FL 33015
                       1. LLC as servicing agent for
                          THE BANK OF NEW
                          YORK MELLON FKA THE
                          BANK OF NEW YORK, AS
                          TRUSTEE (CWALT
                          2006-OA21)[Claim#4]
                    JPMorgan Chase Bank,   6292                          7481 NW 179 Street, Miami, FL 33015
                 2. N.A. / c/o Five Lakes
                    Agency, Inc. [Claim#2]
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                           NONE
                       ■   The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                           confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                           codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                          Name of Creditor                 Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                          Tropical Financial Credit        1996                         2013 Mercedes-Benz C250
                       1. Union
                          Select Portfolio Servicing /     1002                               1075 NW 127 Path, Miami, FL 33182
                       2. The Bank of New York
                          Mellon [Claim #6]
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                             ■   NONE
            B. INTERNAL REVENUE SERVICE:                         ■   NONE
            C. DOMESTIC SUPPORT OBLIGATION(S):                           ■    NONE
            D. OTHER:              ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay              $75.01        /month (Months      1       to 42 )
                       Pay         $139.77       /month (Months 43           to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.            If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                     ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                               NONE
                       ■   The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                           annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                           Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                           provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                           increases by more than 3% over the previous year’s income. [Miami cases]
VIII.       NON-STANDARD PLAN PROVISIONS                 NONE
            ■ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                 The debtor has filed a Verified Motion for Referral to MMM with Select Portfolio Servicing / Bank of New York Mellon
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                                                                   Debtor(s): Andres Diaz, Ivette Del Sol           Case number: 15-12581-LMI
                 [Claim#6; trial agreement reached] (“Lender”), loan number 1002, for real property designated as Homestead located at 1075
                 NW 127 Path, Miami, FL 33182. The Debtors wish to pay this property direct and outside the bankruptcy plan since a final
                 modification was granted and approved.

                 The joint debtor has filed a Verified Motion for Referral to MMM with Select Portfolio Servicing / Bank of New York Mellon
                 [Claim#4; agreement not reached] (“Lender”), loan number 4421 (now 9120), for real property designated as Non-Homestead
                 located at 7481 NW 179 st Hialeah, FL 33015. Debtors are surrendering said property per Section III(D)(1) and are attempting to
                 do a short sale or a modification outside bankruptcy since an agreement was not reached at mediation.
                  Mortgage Modification Mediation


                       PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                          Debtor    August 20, 2018                                          Joint Debtor   August 20, 2018
  Andres Diaz                                              Date                 Ivette Del Sol                                     Date



  /s/ Robert Sanchez, Esq.                    August 20, 2018
    Attorney with permission to sign on                 Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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